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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW HAMPSHIRE

UNITED STATES OF AMERICA               )
                                       )
            v.                         )                          1:11-cr-64-01/04-SM
                                       )
ADRIAN-TIBERIO OPREA,                  )
CEZAR IULIAN BUTU,                     )
IULIAN DOLAN, and                      )
FLORIN RADU                            )
_______________________________________

              MOTION TO DISMISS AS TO DEFENDANT FLORIN RADU

       The United States of America, by Donald Feith, Acting United States Attorney for the

District of New Hampshire, pursuant to Federal Rule of Criminal Procedure 48(a), hereby moves

to dismiss, without prejudice, the Indictment now pending against defendant Florin Radu, who is

a Romanian National and who has been a fugitive since his indictment on May 4, 2011.

August 7, 2015.

                                                   Respectfully submitted,

                                                   Donald Feith
                                                   Acting United States Attorney

                                                    /s/ Arnold H. Huftalen
                                                   Arnold H. Huftalen
                                                   Assistant U.S. Attorney
                                                   NH Bar Association #1215
                                                   53 Pleasant Street, 4th Floor
                                                   Concord, New Hampshire 03301
                                                   (603) 225-1552
                                                   arnold.huftalen@usdoj.gov
